Case 23-61742-bem       Doc 243    Filed 01/24/25 Entered 01/24/25 16:38:30           Desc Main
                                  Document      Page 1 of 3




   IT IS ORDERED as set forth below:



   Date: January 24, 2025
                                                          _________________________________

                                                                   Barbara Ellis-Monro
                                                              U.S. Bankruptcy Court Judge

 ________________________________________________________________

                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

  IN RE:
                                                             CASE NO. 23-61742-BEM
  ARC MANAGEMENT GROUP, LLC,

           Debtor.                                           CHAPTER 11

                     ORDER AND NOTICE OF STATUS CONFERENCE

               IT IS ORDERED and NOTICE IS HEREBY GIVEN that a status conference on

 Debtor’s Motion for Approval of Settlement Agreement [Doc. 216] shall be held on February 11,

 2025, at 11:00 AM, COURTROOM 1402, UNITED STATES COURTHOUSE, RICHARD B.

 RUSSELL FEDERAL BUILDING, 75 TED TURNER DRIVE (f/k/a SPRING STREET), SW,

 ATLANTA, GEORGIA.

               The status conference may be attended in person or via the Court’s Virtual Hearing

 Room. You may join the Virtual Hearing Room through the “Dial-in and Virtual Bankruptcy

 Hearing Information” link at the top of the homepage of the Court’s website,

 www.ganb.uscourts.gov, or the link on the judge’s webpage, which can also be found on the

 Court’s website. Please also review the “Hearing Information” tab on the judge’s webpage for
Case 23-61742-bem       Doc 243     Filed 01/24/25 Entered 01/24/25 16:38:30           Desc Main
                                   Document      Page 2 of 3



 further information. You should be prepared to appear at the status conference via video, but you

 may leave your camera in the off position until the Court instructs otherwise. Unrepresented

 persons who do not have video capability may use the telephone dial-in information on the judge’s

 webpage.

                                        END OF ORDER




                                                2
Case 23-61742-bem       Doc 243    Filed 01/24/25 Entered 01/24/25 16:38:30   Desc Main
                                  Document      Page 3 of 3



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